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                         IN THE UNITED STATES DISTRICT COURT

                   FOR THE DISTRICT OF UTAH, CENTRAL DIVISION

   KATE GRANT and KARMANN KASTEN,
   LLC,                                                 [PROPOSED] ORDER DENYING
                                                          PLAINTIFFS’ SHORT FORM
                  Plaintiffs,                               DISCOVERY MOTION
   vs.

   KEVIN LONG; MILLCREEK                              Case No: 2:23-cv-00936-AMA-CMR
   COMMERCIAL PROPERTIES, LLC;
   COLLIERS INTERNATIONAL; BRENT                            Judge Ann Marie McIff Allen
   SMITH; SPENCER TAYLOR; BLAKE
   MCDOUGAL; and MARY STREET,                           Magistrate Judge Cecilia M. Romero

                 Defendants.


         The Court having considered Plaintiffs’ Short Form Discovery Motion and the Response

  in Opposition to Plaintiffs’ Short Form Discovery Motion, and being fully advised in the matter,

         IT IS HEREBY ORDERED that (1) the Motion is DENIED; and (2) Defendants Kevin

  Long and Millcreek Commercial Properties, LLC are entitled to take the combined depositions of

  Plaintiffs Kate Grant and Karmann Kasten, LLC in person in Salt Lake City, Utah on two
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  consecutive days for a period of up to 14 hours.



           DATED this ___ day of January, 2025.


                                                         BY THE COURT:

                                                         ______________________________
                                                         Cecilia M. Romero
                                                         United States Magistrate Judge




  4899-0357-9408                                     2
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                                   CERTIFICATE OF SERVICE

           I hereby certify that on January 16, 2025, I caused to be served a true and correct copy of

  the foregoing [PROPOSED] ORDER DENYING PLAINTIFFS’ SHORT FORM

  DISCOVERY MOTION via the CM/ECF system on all counsel of record:



                                                                       /s/ Bentley J. Tolk




  4899-0357-9408                                    3
